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                                                                                                   Reset Form


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA




    Richard Sepulveda,
                                               ,             Case No. C 21-6539 LB
                     Plaintiff(s)
    v.                                                       NOTICE OF SETTLEMENT OF ADA
                                                             ACCESS CASE
    Jim's Coffee Shop, et al.,
                                               ,             (ADA ACCESS CASES)
                     Defendant(s)




   The parties have reached an agreement to resolve this action in its entirety and intend to file a
                      30 days.
   dismissal within _____
   The parties have executed a written settlement agreement and exchanged signed copies.




   Date: 12/23/2021
                                                   Signed: /s/ Richard A. Mac Bride
                                                                      Attorney for Plaintiff(s)
                                                   Signed: /s/ Miguel Saldana (not of record)
                                                                    Attorney for Defendant(s)
                                                   Signed:
                                                                       Attorney for Defendant(s)




                                                                                                   Print Form

Important! E-file this form in ECF using event name: “Notice of Settlement of ADA Access Case”
   Form GO 56- Notice of Settlement of ADA Access Case – new 01-2020
